Case 9:23-cr-80101-AMC Document 13 Entered on FLSD Docket 06/13/2023 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         Case No.: 23-80101-CR-CANNON/REINHART

  UNITED STATES OF AMERICA

  v.

  DONALD J. TRUMP and
  WALTINE NAUTA,

         Defendants.
                                        /

                           NOTICE OF PERMANENT APPEARANCE

         Christopher M. Kise (“Counsel”) files this notice of appearance for the above-named

  Defendant, President Donald J. Trump. Counsel agrees to represent President Trump for trial, all

  proceedings in the District Court, and on appeal.

         Counsel acknowledges responsibility to advise the Defendant of the right to appeal, and to

  file a timely notice of appeal if requested to do so by the Defendant.

         Counsel hereby states that this appearance is in conformity with the requirements of Local

  General Rule 11.1 and the Special Rules Governing the Admission and Practice of Attorneys.

         FEE DISPUTES BETWEEN COUNSEL AND CLIENT SHALL NOT BE A BASIS FOR

  WITHDRAWAL FROM THIS REPRESENTATION.

        Date: June 13, 2023                            Respectfully submitted,

                                                       s/ Christopher M. Kise
                                                       Christopher M. Kise
                                                       Florida Bar No. 855545
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